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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:04CR3039-2
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
HEIDI K. SCHMIDT,                           )
                                            )
                    Defendant.              )


      On the oral motion of defense counsel,

      IT IS ORDERED that:

       (1)    The hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 124) has been rescheduled before the undersigned United States district
judge to Wednesday, April 12, 2006, at 12:45 p.m., in Courtroom No. 1, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

      (2)    The Marshal is unable to return the defendant to the district.

      March 16, 2006.                    BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
